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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 HATICE CENGIZ, et al.,
        Plaintiffs,
 v.                                                   Case No. 20-CV-03009-JDB


 MOHAMMED BIN SALMAN BIN
 ABDULAZIZ AL SAUD, et al.,
        Defendants.


      RESPONSE TO SUGGESTION OF IMMUNITY BY THE UNITED STATES
______________________________________________________________________________

       Pursuant to the Court’s October 9, 2022 order, Defendant His Royal Highness

Mohammed bin Salman bin Abdulaziz Al Saud (the “Crown Prince”) submits this response to

the Suggestion of Immunity by the United States, filed on November 17, 2022 at ECF No. 53.

That Suggestion of Immunity notified the Court that the United States recognizes the Crown

Prince – the sitting Prime Minister of the Kingdom of Saudi Arabia (“Saudi Arabia”), see ECF

Nos. 45, 48, 52-1 – as Saudi Arabia’s “sitting head of government” and that, as a consequence,

the Crown Prince “is immune from this suit.” ECF No. 53 at 1. It is accompanied by a letter

from the Acting Legal Adviser of the U.S. Department of State stating that “[t]he State

Department recognizes and allows the immunity of Prime Minister Mohammed bin Salman as a

sitting head of government of a foreign state.” ECF No. 53-1 at 1.

       As the United States points out in its Suggestion of Immunity, courts “defer to the

Executive Branch’s immunity determinations concerning sitting heads of state and heads of

government,” ECF No. 53 at 4 & n.4 (citing cases), and “[i]n no case has a court subjected a

person to suit after the Executive Branch has determined that the head of state or head of
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government is immune,” id. at 5 & n.5 (citing cases). Indeed, the D.C. Circuit has held that,

once the Executive Branch suggests immunity on behalf of a defendant, a court is divested of its

jurisdiction over claims against that defendant. See Manoharan v. Rajapaksa, 711 F.3d 178,

179-80 (D.C. Cir. 2013) (per curiam) (holding that the Torture Victim Protection Act of 1991 did

not abrogate common-law head-of-state immunity and that a “suggestion of immunity”

submitted by the United States on behalf of the sitting head of state rendered the district court

“without jurisdiction” over that sitting head of state); see also Lewis v. Mutond, 918 F.3d 142,

145 (D.C. Cir. 2019) (noting that a district court “is divested of its jurisdiction” over a foreign

official if the Executive Branch “grant[s]” a suggestion of immunity; discussing Samantar v.

Yousuf, 560 U.S. 305, 311-12 (2010)). Plaintiffs themselves have conceded that, “[w]hen the

State Department suggests that a foreign official is entitled to status-based immunity, that

determination is entitled to absolute deference from courts.” ECF No. 27 at 28.

         Accordingly, the Court should dismiss Plaintiffs’ claims against the Crown Prince for

lack of subject-matter jurisdiction.



Dated:    November 29, 2022                   Respectfully submitted,

                                              /s/ Michael K. Kellogg
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                                  CERTIFICATE OF SERVICE

        I certify that on November 29, 2022, I electronically filed the foregoing Response to

Suggestion of Immunity by the United States, using the ECF system, which sent notice of filing

in this matter to all counsel of record.



                                                   /s/ Michael K. Kellogg___
                                                   Michael K. Kellogg
                                                   Attorney for Defendant
                                                   Mohammed bin Salman bin Abdulaziz Al Saud
